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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                        CASE NO. 09-20105

       v.                                       JUDGE SEAN F. COX

D-8 HELEN MARIE MARTIN,

              Defendant.
                                           /


                  ORDER GRANTING MOTION FOR WITHDRAWAL
                               OF COUNSEL

       On November 13, 2009, this Court conducted a hearing on George D. Lyons’ motion for

to withdraw as defense counsel for Defendant Helen Marie Martin.

       For the reasons stated on the record, defense counsel’s motion is granted. New counsel

will be appointed for Defendant through the Federal Defenders’ Office.

       IT IS SO ORDERED.


                             S/Sean F. Cox
                             Sean F. Cox
                             United States District Judge

Dated: November 13, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of record on
November 13, 2009, by electronic and/or ordinary mail.

                             S/Jennifer Hernandez
                             Case Manager
